UNITED STATES DISTRICT COURT/EASTERN DISTRICT OF NEW YORK Attorney: MICHAEL FAILLACE &
ASSOCIATES, P.C. - 2371

. ”

HITLER CALLE, INDIVIDUALLY AND ON BEHALF OF OTHERS SIMILARLY Index #: 1:20-CV-04178-LDH-LB
SITUATED
Plaintiffs)
-against- Date Filed:
PIZZA PALACE CAFE LLC D/B/A PIZZA PALACE CAFE ETAL AFFIDAVIT OF SERVICE
Defendant(s)

STATE OF NEW YORK: COUNTY OF NEW YORK ss:

DENISE LEWIS BEING DULY SWORN DEPOSES AND SAYS DEPONENT IS NOT A PARTY TO THIS
ACTION AND OVER THE AGE OF EIGHTEEN YEARS AND RESIDES IN THE STATE OF NEW YORK.

That on April 1, 2021 at 03:15 PM at

CIO PIZZA PALACE CAFE
63-60 108TH STREET
FOREST HILLS, NY 11375

deponent served the within true copy/copies of the AMENDED SUMMONS IN A CIVIL ACTION AND
COMPLAINT on VLAD DJOURAEV, the defendant/respondent therein named,

SUITABLE by delivering thereat a true copy/copies of each to JOHN DOE a person of suitable age and discretion. Said premises is
AGE the defendant's/respondent's actual place of business within the state. He identified himself as the CO-WORKER /
EMPLOYEE of the defendant/respondent.

Deponent further states that he describes the person actually served as follows:

Sex Skin Color Hair Color Age (Approx.} Height (Approx.} Weight (Approx)
MALE WHITE BLACK 35 5'9 180
GLASSES
MAILING Deponent enclosed a true copy/copies of same in a postpaid wrapper properly addressed to the defendant/respondent at
the defendant's/respondent’s actual place of business at
C/O PIZZA PALACE CAFE
63-60 108TH STREET

FOREST HILLS, NY 11375

and deposited said wrapper in a post office or official depository under exclusive care and custody of the United States
Postal Service within New York State on April 12, 2021 by REGULAR FIRST CLASS MAIL in an envelope marked
PERSONAL & CONFIDENTIAL and not indicating on the outside envelope thereof, by return address or otherwise that the
communication is from an attorney or concerns an action against the party to be served.

Sworn to me on: April 12, 2021 BL BQ [__
epee yarns,

Linda Forman Robin Forman Gotham Process Inc.

Notary Public, State of New York Notary Public, State of New York 299 Broadway DENISE LEWIS
No, 01FO5031305 No. 01FO6125415 New York NY 10007 : .

Qualified in New York County Qualified in New York County License #: 2006009

Commission Expires August 1, 2022 Commission Expires April 18, 2025 Docket #: *4182160*
